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                            IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF NEW MEXICO



UNITED DRILLING, INC.,
a New Mexico corporation,

               Plaintiff,

vs.                                                  Civ. No. 97-283 SC/WWD

PETROSUN EXPLORATION & PRODUCTION,
INC., an Arizona corporation, and GORDON
LEBLANC, JR.,

               Defendants.


                                             ORDER

       This matter having come before the Court upon Plaintiff’s Motion to Deem Facts

Admitted [docket no. 25]; the Defendants having failed to respond to the motion; and the Court

finding that the Defendants have failed to respond to properly served requests for admissions

made by the Plaintiff;

       IT IS ORDERED that Plaintiff’s Requests for Admissions served on Defendants by mail

on October 6, 1997, are deemed admitted in each and every particular contained in the requests.



                                             ______________________________________
                                             UNITED STATES MAGISTRATE JUDGE
